       Case 8:17-cv-01149-GTS-CFH Document 15 Filed 02/06/18 Page 1 of 1



 UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT COURT OF NEW YORK

 MARILYN SMITH,

                                              Plaintiff,           NOTICE OF VOLUNTARY
                                                                    DISMISSAL


       -against-                                       Case No.: 8:17-CV- 01149[GTS/CFH]

 NEW YORK STATE DEPARTMENT
 OF CORRECTIONS AND COMMUNITY SUPERVISION,

                                              Defendant.



 TO THE CLERK OF THE COURT :

 PLEASE TAKE NOTICE that pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) the Plaintiff in the above
 captioned matter by and through her attorney, the Law Office of Patrick Sorsby PLLC, does hereby
 voluntarily and without prejudice dismiss her causes of action in the above captioned matter (case
 no. 8:17-CV-01149). Plaintiff will pursue her claims in State Court.



                                                     Respectfully Submitted,


 Dated: February 4, 2018

                                              LAW OFFICE OF PATRICK SORSBY PLLC
                                                             By             S/
                                                             Patrick Sorsby
                                                             Attorney for the Plaintiff
                                                             Bar Roll No.: 517840
SO ORDERED: 2/6/2018                                         1568 Central Avenue
                                                             Albany, New York 12205
                                                             Phone: (518) 545-4529
                                                             E-mail: sorsbylaw@gmail.com
